                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
/s
                                                   271 Cadman Plaza East
F. #2018R01833                                     Brooklyn, New York 11201



                                                   November 18, 2020


By ECF

The Honorable Carol B. Amon
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Salvador Cienfuegos Zepeda
                     Criminal Docket No. 19-366 (CBA)

Dear Judge Amon:

               The government writes pursuant to the Court’s Order of earlier today to confirm,
that the United States Marshals Service has successfully transported the defendant to Mexico.

                                                   Respectfully submitted,

                                                   SETH D. DUCHARME
                                                   Acting United States Attorney


                                               By: /s Allen L. Bode
                                                  Chief – International Narcotics and Money
                                                  Laundering Section
                                                  (718)254-7996

cc:    Counsel for the defendant (by ECF)
       Clerk of the Court (CBA) (by ECF)
